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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION



 NUVASIVE, INC.,

                       Plaintiff,

 v.                                                      Case No. 6:17-cv-2206-CEM-GJK

 ABSOLUTE MEDICAL, LLC,
 GREG SOUFLERIS, DAVE
 HAWLEY, ABSOLUTE
 MEDICAL SYSTEMS, LLC,
 RYAN MILLER, and BRYAN E
 BUSCH,

                       Defendants.


                                            /

                                            ORDER
        THIS CAUSE is before the Court on Defendants’ Motion for Partial

 Reconsideration (Doc. 341).1 Defendants request reconsideration of the Court’s

 November 12, 2021 Order (Doc. 334) denying Defendants’ Motion for Partial

 Summary Judgment (Doc. 308) and denying Defendant Absolute Medical Systems,

 LLC’s Motion for Summary Judgment (Doc. 312). (Doc. 334 at 1).



        1
           Because the Court is denying the motion, it need not wait for a response from Plaintiff
 prior to ruling. PulsePoint, Inc. v. 7657030 Can., Inc., No. 13-61448-CIV-Marra/Matthewman,
 2013 U.S. Dist. LEXIS 191732, at *2 (S.D. Fla. Oct. 23, 2013).



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       District courts are afforded considerable discretion to reconsider prior

 decisions. See Harper v. Lawrence Cnty., 592 F.3d 1227, 1231–32 (11th Cir. 2010)

 (discussing reconsideration of interlocutory orders); Lamar Advert. of Mobile, Inc.

 v. City of Lakeland, 189 F.R.D. 480, 488–89, 492 (M.D. Fla. 1999) (discussing

 reconsideration generally and under Federal Rule of Civil Procedure 54(b));

 Sussman v. Salem, Saxon & Nielsen, P.A., 153 F.R.D. 689, 694 (M.D. Fla. 1994)

 (discussing reconsideration under Rule 59(e) and Rule 60(b)). Courts in this District

 recognize “three grounds justifying reconsideration of an order: (1) an intervening

 change in controlling law; (2) the availability of new evidence; and (3) the need to

 correct clear error or manifest injustice.” McGuire v. Ryland Grp., Inc., 497 F. Supp.

 2d 1356, 1358 (M.D. Fla. 2007) (quotation omitted); Montgomery v. Fla. First Fin.

 Grp., Inc., No. 6:06-cv-1639-Orl-31KRS, 2007 WL 2096975, at *1 (M.D. Fla. July

 20, 2007). However, “[r]econsideration of a previous order is an extraordinary

 measure and should be applied sparingly.” Scelta v. Delicatessen Support Servs.,

 Inc., 89 F. Supp. 2d 1311, 1320 (M.D. Fla. 2000).

       While Defendants do not reference the legal standard for reconsideration, it

 appears that they argue for reconsideration based on clear error. (Doc. 341 at 1).

 Specifically, Defendants argue that the Court’s November 12th Order is in error

 because “it entirely ignores the res judicata and collateral estoppel effects” of a Final

 Award (Doc. 283-2) issued by an arbitration panel on Count II in this case. (Doc.




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 341 at 1). However, Defendants concede that they failed to brief the issues of res

 judicata or collateral estoppel in their summary judgment motions.2 (Id.). “A motion

 for reconsideration cannot be used to ‘relitigate old matters, raise argument or

 present evidence’” that could have been previously raised prior to the Court’s ruling.

 Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 957 (11th Cir. 2009) (quoting Linet,

 Inc. v. Village of Wellington, Fla., 408 F.3d 757, 763 (11th Cir. 2005)); id. (“This

 prohibition includes new arguments that were ‘previously available, but not

 pressed.’” (quoting Stone v. Wall, 135 F.3d 1438, 1442 (11th Cir. 1998) (per

 curiam))). Therefore, these issues are not appropriate to be raised in a motion for

 reconsideration. (See also generally Oct. 25, 2021 Order, Doc. 331, at 7–9

 (explaining why the Final Award does not have a preclusive effect on the remaining

 claims in this case); Doc. 334 at 7–11, 13–14 (same)).

        Accordingly, it is ordered and adjudged that Defendants’ Motion for Partial

 Reconsideration (Doc. 341) is DENIED.




        2
           Nor do Defendants properly brief these issues in the Motion for Partial Reconsideration,
 instead referring to a Motion in Limine (Doc. 335) filed on the docket. This attempt by Defendants
 to incorporate argument from another motion is inappropriate. DeForest v. Johnny Chisholm Glob.
 Events, LLC, No. 3:08cv498/MCR/EMT, 2010 U.S. Dist. LEXIS 43344, at *54 n.12 (N.D. Fla.
 May 4, 2010).



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       DONE and ORDERED in Orlando, Florida on November 16, 2021.




 Copies furnished to:

 Counsel of Record




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